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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDUARDO ROSARIO               :             CIVIL ACTION
                              :             NO. 20-2966
               v.             :
                              :
ALEX TORRES PRODUCTIONS, INC.,:
et al.                        :


                                O R D E R


          AND NOW, this 23rd day of November, 2021, having held

a November 10, 2021 rule to show cause hearing for why

Plaintiff’s counsel should not be sanctioned, to which counsel

failed to timely respond, 1 it is hereby ORDERED that the

following sanctions shall be imposed given counsel’s inexcusable

behavior which is grossly negligent if not fraudulent: 2


1    Counsel claims that they attempted to file a response by
the October 25, 2021 deadline and attempted to email a copy of
the response to chambers. Both alleged attempts failed and
counsel inexcusably neglected to follow up on either attempted
submission until after the rule to show cause hearing. The tardy
response mostly attempts to shift blame and does not assuage the
Court’s concerns.
2    The troubling aspects of this ADA discrimination case
(“Rosario II”) reach back to an identical case filed by the
Lento Law Group, Civ. No. 19-2222 (“Rosario I”). Rosario I was
filed on behalf of the same Plaintiff and against the same
Defendants: an establishment called Red Wine Restaurant in
Pennsylvania and an event promoter called Alex Torres
Productions from Florida. Plaintiff contends in both cases that
he attempted to enter the Red Wine Restaurant to attend a
performance promoted by Alex Torres Productions, but the venue
was not wheelchair accessible. Indeed, the Rosario I and Rosario
II complaints are identical in substance. The Court held a
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     1.   The Lento Law Group and Joan Feinstein are BARRED from

further representation of the Plaintiff. The pro hac vice status

of Keith Altman is REVOKED and he is also BARRED from further

representation of the Plaintiff. The Clerk of Court is directed

to terminate their representation on the docket. By January 24,

202 , Plaintiff shall retain new counsel. Failure to obtain new

counsel or continue the case pro se may result in the case being

dismissed for failure to prosecute.




December 20, 2019 pretrial conference in Rosario I at which
Plaintiff’s counsel failed to appear. After contacting
Plaintiff’s counsel, Steven Feinstein, by telephone during the
hearing, and after several disturbing revelations during that
telephone call, in January 2020 the Court dismissed the case
without prejudice for lack of prosecution and, in February 2020,
referred Steven Feinstein and Joseph Lento, as the manager of
the Lento Law Group, to the Disciplinary Board of the Supreme
Court of Pennsylvania. See Civ. No. 19-2222 ECF Nos. 9 & 16.

     On June 4, 2020, Joseph Lento filed a complaint identical
to the Rosario I complaint (except it was now signed by Joan
Feinstein of the Lento Law Group) in the District of New Jersey.
However, Lento voluntarily dismissed the case four days later,
claiming it should have been filed in this court. On June 19,
2020, Joan Feinstein filed Rosario II in the Eastern District of
Pennsylvania (utilizing a complaint identical to the complaints
filed in Rosario I and the New Jersey case), but did not mark
the case as related to Rosario I which is required by Local Rule
of Civil Procedure 40.1(b)(3). As a result, the case was
assigned to another judge. Only when the magistrate judge who
had been assigned to Rosario I was also assigned to Rosario II
did the court discover the omission and Rosario II was
reassigned to this Court. Counsel’s actions appear to be an
impermissible attempt to judge shop and evade adjudication by
this Court.

                                       2
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     2.   The default entered against Defendant Alex Torres

Productions, Inc. on August 20, 2020 is STRICKEN; 3 and

     3.   Joan Feinstein, Keith Altman, Joseph Lento, and Lento

Law Group are REFERRED to the Disciplinary Board of the Supreme

Court of Pennsylvania given that:

          a.    Joan Feinstein and Joseph Lento are licensed to

practice law in the Commonwealth of Pennsylvania and are

providing legal services in the Commonwealth as members of the

Lento Law Group. Keith Altman, an out-of-state attorney, is

subject to the Pennsylvania Rules of Professional Conduct by

virtue of his pro hac vice admission;



3    When this Court dismissed Rosario I, it ordered that “[i]f
the complaint is refiled, it shall include legal authority for
the proposition that a promoter may be held liable under the
circumstances presented in this case,” since there did not
appear to be any obvious ADA liability for an event promoter
under the facts provided. Civ. No. 19-2222 ECF No. 9. In the
Rosario II complaint, counsel failed to provide such authority.
However, in its belated response to the rule to show cause,
counsel claims that the inclusion of Alex Torres Productions is
justified based on negligence cases in which event sponsors were
held to have a duty of care. This is an ADA case and Plaintiff
has not alleged any personal injury/negligence claims.
Therefore, the cases cited by counsel could not have given a
reasonable attorney a good faith belief that Alex Torres
Productions could be liable under the ADA as an event promoter.
Counsel also suggested at the hearing that there may have been
some contract between Red Wine Restaurant and Alex Torres
Productions which would have made the latter responsible for the
ADA compliance of the former’s venue. This theory is pure
speculation and also could not have given counsel a good faith
belief of promoter liability.

                                       3
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          b.    Joseph Lento has supervisory or managerial

authority over Lento Law Group; and

          c.    the conduct of Joan Feinstein, Keith Altman,

Joseph Lento, and the Lento Law Group may constitute violations

of Pennsylvania Rules of Professional Conduct 1.1, 1.3, 3.1,

3.3, 4.1, or 5.1;

     4.   The Rule to Show Cause (ECF No. 29) is DISSOLVED;

     5.   The Clerk of Court is directed to mail a copy of this

order and all attachments to The Office of Disciplinary Counsel,

District 1, 1601 Market Street, Suite 3320, Philadelphia, PA

19103; and

     6.   The Clerk of Court is directed to mail a copy of this

Order and all attachments to the Lento Law Group, 1500 Market

Street, East Tower, 12th Floor, Philadelphia, PA 19102.



          AND IT IS SO ORDERED. 4



                            ______________________________
                            EDUARDO C. ROBRENO, J.




4    Attached to this order are: (1) the Rosario II complaint,
(2) this Court’s rule to show cause order; (3) the transcript of
the rule to show cause hearing, (4) and counsel’s out-of-time
response to the rule to show cause.

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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDUARDO ROSARIO               :            CIVIL ACTION
                              :            NO. 20-2966
               v.             :
                              :
ALEX TORRES PRODUCTIONS, INC.,:
et al.                        :


                                  O R D E R


             AND NOW, this 30th day of September, 2021, after an

August 24, 2021 status and scheduling conference, and in light

of the multiple irregularities present in this case, it is

hereby ORDERED that a rule to show cause is ISSUED why

Plaintiff’s counsel Keith Altman and Joan Feinstein should not

be sanctioned 1 for their: (1) failure to accurately certify that

there were no related cases in violation of Pennsylvania Rule of

Professional Conduct 3.3(a); and (2) failure to provide

authority in the complaint regarding promoter liability as

ordered by the Court on January 13, 2020 (19-cv-2222 Doc. No.

9). 2



1 Sanctions could include monetary fines, referral to the
Disciplinary Board, or barring Mr. Altman or Ms. Feinstein from
representing Plaintiff.
2 The Court is also concerned why Mr. Altman’s address listed on
the docket is the Lento Law Firm in Philadelphia but his
application for pro hac vice lists his practice as The Law Firm
of Keith Altman in Farmington Hills, Michigan.
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     The Rule is answerable in person 3 on November 10, 2021 at

2:00 p.m. in Courtroom 15A, U.S. Courthouse, 601 Market Street,

Philadelphia, Pennsylvania.

     Mr. Altman and Ms. Feinstein shall also file a response to

the Rule to Show Cause no later than October 25, 2021.

     It is further ORDERED that the case is STAYED pending

further order of the Court.



          AND IT IS SO ORDERED.



                            ______________________________
                            EDUARDO C. ROBRENO, J.




3 Defendants and their counsel may attend the Rule to Show Cause
hearing but are not required to appear.
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                           UNITED STATES DISTRICT COURT FOR
                              THE EASTERN DISTRICT OF
                                   PENNSYLVANIA


_____________________________________________
EDUARDO ROSARIO                           :
                        Plaintiff         :
                                          :
                  v.                      :
                                          :                   Civil Action No. 2:20-cv-02966-MSG
                                          :
ALEX TORRES PRODUCTIONS, INC., et al. :
                        Defendants        :
_____________________________________________


                         RESPONSE TO ORDER TO SHOW CAUSE

        NOW COME attorneys Keith Altman and Joan Feinstein (Plaintiff's counsels) and file this

response to this Court's Order to Show Cause (ECF # 9), and respectfully state the following:


        Attorneys hereby respond to Your Honor's Order #29 issued September 30th, 2021.

Attorneys will respond to Your Honor's concerns following the same order as established in Order

#29:

   I.      Failure to accurately certify that there were no related cases in violation of
           Pennsylvania Rule of Professional Conduct 3.3(a)
   Rule 3.3(a) of the Pennsylvania Rules of Professional Conduct ("PRPC") establishes that "[a]

lawyer shall not knowingly…(1) make a false statement of a material fact or law to a tribunal or

fail to correct a false statement of material fact or law previously made to the tribunal by the

lawyer." Pa. RPC 3.3(a)(1). In the present case, there was an error in the civil cover sheet. Your

Honor rightfully demands an explanation of why counsels should not be subjected to sanctions for

violation of PRPC 3.3(a). There are two possibilities, either: i) counsels intended to evade Your

Hour's Court, or ii) it was an administrative error:
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           a. There was no intent to evade Your Honor's Court.
       It does not make sense that counsel would want to evade Your Honor's Court when counsel

and Plaintiff had a good faith claim to bring before the Court. As explained on numeral II below,

counsel (via Plaintiff) had a good faith basis to bring a claim against Alex Torres Productions

because there is no prohibition as a matter of law against event promoter's liability and against La

Guira, Inc as to the company responsible for the maintenance and condition of the facility that

violates the American with Disabilities Act and the Pennsylvania Human Relations Act. If

Plaintiff truly intended to evade this Court, Plaintiff could easily have waited more than one year

to refile or could have filed the case in New Jersey. Plaintiff did neither of those things suggesting

that the erroneous information on the tracking sheet was an administrative error.

           b. The erroneous information in the Civil cover sheet was a good faith administrative
              error.
       Rule 3.3(a) of the Pennsylvania Rules of Professional Conduct establishes that "[a] lawyer

shall not knowingly…(1) make a false statement of material fact or law to a tribunal or fail to

correct a false statement of material fact or law previously made to the tribunal by the lawyer." Pa.

RPC 3.3 (emphasis added). Furthermore, "[a] person acts knowingly if that person acts consciously

and voluntarily with an awareness and realization of what was happening and not because of

mistake or accident or other innocent reason." United States v. Hoffecker, 530 F.3d 137, 181.

       Counsel did not knowingly make a false statement of material fact or law to a tribunal or

fail to correct a false statement of material fact or law previously made to the tribunal by the

lawyer. Once the matter had been raised, Plaintiff's counsel began to research what had happened.

Only after this Court pointed out the error on the tracking sheet was Plaintiff's counsel able to piece

together what had happened, leading to the instant response.
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          When the instant case was filed, neither the paralegal who prepared the documents nor the

attorney who signed the document was aware that the case had been previously filed. Counsel

genuinely thought they were providing a truthful answer that the case had not been once

terminated. This was human error. Counsel became aware of this mistake when this Court pointed

it out to them and required explanation.

          Given that there was no intent to deceive the Court and that Ms. Feinstein acted in good

faith when she signed the tracking sheet, this Court should conclude that the conduct here, while

erroneous, was not done in bad faith and should not be the subject of sanctions.

          As to Mr. Keith Altman specifically, Mr. Altman was not Plaintiff's counsel when the civil

cover sheet and the tracking form were filed. He was to apply to be admitted pro hac vice. Mr.

Altman did not fill it out, nor was he responsible for the civil cover sheet when it was filed. The

Complaint and the civil cover sheet were filed on June 19, 2020, and Mr. Altman submitted his

pro hac vice application to represent Plaintiff on June 22, 2020. Mr. Altman became Plaintiff's

counsel after the error happened and thus should not be subjected to sanctions pursuant to PRPC

3.3(a).

          Despite the unintentional error, Plaintiff's counsel acknowledges that the error has caused

various difficulties and apologizes for any inconvenience caused to the Court or opposing counsel.

    II.      Failure to Provide Authority in The Complaint Regarding Promoter Liability
          Mr. Altman was not aware of the Court order issued on January 13, 2020 (19-cv-2222 Doc.

No. 9) because Mr. Altman was not Plaintiff's counsel in that case. Moreover, Mr. Altman was not

involved in the drafting of the present Complaint. Thus, Mr. Altman did not knowingly fail to

provide authority in the Complaint regarding promoter liability. Furthermore, Mr. Altman believed

(and continues to believe) that the claim was well-grounded in law and fact and has a good faith
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basis for believing that Plaintiff has a cause of action against Defendant Torres. Magerman v.

Mercer, 2018 U.S. Dist. LEXIS 17236, *6.

          First, it is not established as a matter of law that event promoters are free from liability.

Moreover, there is case law in the 3rd Circuit that establishes that event sponsors have a duty to

use ordinary care: "as a general matter, a sponsor-lessee, like any commercial proprietor, owes to

third-party invitees 'a duty to use ordinary care to have the premises in a reasonably safe

condition.'” Walters v. George Little Mgmt., LLC, 2008 U.S. Dist. LEXIS 16971, *15-16 (citing

O'Connell v. New Jersey Sports and Exposition Authority, 337 N.J. Super. 122, 128, 766). See also

Golonka v. Saratoga Teen and Recreation of Saratoga Springs Inc., 249 A.D. 2d 854, 855, 672.

          This doctrine distinguishes between active and passive sponsors: “Where it has been

established that an event sponsor "had such degree of control [over the event] that [it] could have

averted the danger, or such superior knowledge that [it] should have foreseen and given warning

of a danger not apparent to the plaintiff," such an active sponsor may be held liable for injuries

suffered by invitees at the event…By contrast, in cases where "the defendant sponsors could not

have exercised any authority or control over the conduct" at the event, the sponsors' liability for

attendees' injuries has been held not to attach.”. Walters (internal citations omitted).

          Based on this doctrine, counsels and Plaintiff genuinely believed a good faith basis for the

claim against Defendant Torres. During discovery, Plaintiff will learn more about the contractual

relationship between Defendant La Guira and Defendant Torres and establish more accurately the

extent of Defendant Torres’ liability to Plaintiff.

   III.      Mr. Altman’s Address on the Docket and in Pro Hac Vice Application.
          The reason why Mr. Altman’s address listed on the docket is the Lento Law Firm in

Philadelphia, but his application for pro hac vice lists his practice as The Law Firm of Keith
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Altman in Farmington Hills, Michigan is an error due to the following: Mr. Altman used to work

as Of-Counsel for the Lento Law Firm. However, in March 2021, Mr. Altman stopped working as

an Of-Counsel to the Lento Law Firm. Mr. Altman and the Lento Law Firm agreed to represent

Plaintiff jointly. This is why there is confusion regarding the addresses. Mr. Altman will correct

this error.

    IV.       Request for Ms. Feinstein to Appear by Video
          Respectfully, Ms. Feinsteing rwuests that the Court allow her to appear by video at the

November 10, 2021 hearing. Ms. Feinstein is suffering from serious medical condition for which

her physicians have advised her not to attend Court live. She has been further advised nor even to

see her clients in person. Mr. Altman will be at the Court in person and will be addressing the

Court. Given Ms. Feinstein’s medical condition and <r Altman’s live presence, Ms. Feinstein

respectfully asks the Court to be allowed to attend by video conference.

    V.        Conclusion

          Based on the foregoing, Mr. Altman and Ms. Feinstein hereby request this Court to not

impose sanctions for the alleged violation of PRPC 3.3(a) and for failing to provide authority

regarding promoter’s liability.

          WHEREFORE, the undersigned counsels, respectfully request that this Court ender an

Order, finding that the Plaintiff has established Good Cause for (1) failure to accurately certify that

there were no related cases in violation of Pennsylvania Rule of Professional Conduct 3.3(a); and

(2) failure to provide authority in the Complaint regarding promoter liability as ordered by the

Court on January 13, 2020 (19-cv-2222 Doc. No. 9).

Dated: October 25, 2021.                       Respectfully Submitted,
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                             THE LAW OFFICE OF KEITH ALTMAN

                       By:   /s/ Keith Altman
                             Keith Altman (P81702)
                             The Law Office of Keith Altman
                             Attorney for Plaintiff
                             33228 West 12 Mile Road, Suite 375
                             Farmington Hills, Michigan 48334
                             Telephone: (516) 456-5885
                             keithaltman@kaltmanlaw.com
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                                CERTIFICATE OF SERVICE


I hereby certify that on October 25, 2021, I electronically filed the foregoing document with the
United States District Court and that a true copy of said document was sent to all parties through
the Court’s CM/ECF system.



                                             By: /S/ Keith Altman
                                                    KEITH ALTMAN, ESQ
                                                    The Law Office of Keith Altman
                                                    33228 West 12 Mile Road, Suite 375
                                                    Farmington Hills, Michigan 48334
                                                    Telephone: (516) 456-5885
                                                    keithaltman@kaltmanlaw.com
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     UNITED STATES DISTRICT COURT FOR THE EASTERN
              DISTRICT OF PENNSYLVANIA




EDUARDO ROSARIO,                             Civil Action No. 2:20-cv-02966
           Plaintiff,

v.

ALEX TORRES PRODUCTIONS,
INC., et al.
             Defendants.



     DECLARATION OF LORI CRUSSELLE IN SUPPORT OF
     PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE

NOW COMES the Declarant, Lori Crusselle, and states:

     1.    I am a senior litigation paralegal for the Law Office of Keith

           Altman.

     2.    On October 25, 2021, at 10:14 p.m., I received an email from

           Keith Altman indicating that his Response to the Order to

           Show Cause could not be filed. This email (see attached

           herein) was also sent to opposing counsel and

           chambersofjudgerobreno@paed.uscourts.gov.




DECLARATION OF
LORI CRUSSELLE                         -1-          CIVIL ACTION NO. 2:20-cv-02966
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    3.    When I logged onto my computer early on the morning of

          October 26, 2021, I again, at the direction of Mr. Altman,

          attempted to file the document. I was unable because Mr.

          Altman’s PACER login credentials do not permit filing in

          this Court.

    4.    At 11:18 a.m. on October 26, 2021, I attempted to call the

          Clerk of the Court at (215) 597-7704. The Clerk’s message

          indicated that all staff was working remotely but to leave a

          message with an email address for the clerk to return my

          message. I left the case number and my email address,

          loricrusselle@kaltmanlaw.com. I have not received any

          response to this call.

    5.    At 12:04 p.m. on October 26, 2021, I emailed Mr. Altman’s

          Response to the Order to Show Cause to

          PAED_documents@paed.uscourts.gov. See attached email.

          This email address is provided on the Court’s website as an

          avenue to submit documents if electronic filing difficulties

          arise. I received no response to this email.




DECLARATION OF
LORI CRUSSELLE                        -2-          CIVIL ACTION NO. 2:20-cv-02966
     Case: 21-3337   Document: 17-2     Page: 79    Date Filed: 05/03/2022




    6.    Having not received any response to my attempts to contact

          the Court on October 26, 2021, I again, on October 29, 2021,

          emailed PAED_documents@paed.uscourts.gov with Mr.

          Altman’s Response to the Order to Show Cause. See

          attached email. Again, I received no reply.

    7.    Since October 29, 2021, I have made additional attempts to

          use the PACER system for this Court. I have been unable to

          successfully connect with PACER for this jurisdiction since

          October 26, 2021.



    Executed on November 11, 2021

                                            /s/ Lori Crusselle
                                            Lori Crusselle




DECLARATION OF
LORI CRUSSELLE                        -3-          CIVIL ACTION NO. 2:20-cv-02966
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